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 6   Counsel for Defendant
     ANITA SHARMA
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 8                                  IN THE UNITED STATES DISTRICT COURT
                                       EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                        Case No.: 13-cr-084-GEB
                       Plaintiff,
11                                                    STIPULATION TO EXTENDING THE
              vs.                                     DEADLINE TO FILE MOTION FOR
12                                                    CORRECTION OF THE PRE-SENTENCE
                                                      REPORT; AND [PROPOSED] ORDER
13   ANITA SHARMA,
                       Defendant.
14

15            On January 23, 2018, the parties in the above-captioned case filed a Stipulation to

16   Continue the Sentencing of Anita Sharma, and other defendants. Dkt. 181. The parties provided

17   the court with a schedule, which the court adopted, for disclosing the Presentence Report,

18   informal objections to the Presentence Report, formal Motion to correct the Pre-Sentence

19   Report, Reply or Statement of No Opposition, and Judgment and Sentencing. Dkt. 182.

20            Counsel for defendant Anita Sharma contacted the Assistant United States Attorney Lee

21   Bickley and requested the deadline for filing a Motion for Correction of the Pre-Sentence Report

22   be extended to Monday, April 16, 2018. Ms. Bickley indicated she had no objection to extending

23   the filing deadline to April 16, 2018.

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     STIPULATION TO EXTEND FILING DATE                                                             1
26   Case No.: 13-CR-084-GEB
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 1            The parties stipulate and request the deadline to file Motion to Correct the Pre-Sentence

 2   Report be extended to April 16, 2018.

 3            IT IS SO STIPULATED.

 4

 5   Date: April 13, 2018                                 /s/ Charles J.S. Woodson
                                                          CHARLES J.S. WOODSON
 6                                                        Attorney for defendant
                                                          ANITA SHARMA
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 8
     Dated: April 13, 2018                                /s/ Lee. S. Bickley
 9                                                        LEE S. BICKLEY
                                                          Assistant United States Attorney
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     STIPULATION TO EXTEND FILING DATE                                                               2
26   Case No.: 13-CR-084-GEB
                Case 2:13-cr-00084-TLN Document 220 Filed 04/23/18 Page 3 of 3


 1                                       FINDINGS AND ORDER

 2            IT IS SO FOUND AND ORDERED.

 3   Dated: April 23, 2018

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     STIPULATION TO EXTEND FILING DATE                                           3
26   Case No.: 13-CR-084-GEB
